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                                                                L.B.F. 3015.1
                                                   UNITED STATES BANKRUPTCY COURT
                                               FOR THE EASTERN DISTRICT OF PENNSYLVANIA
 In re: Clarence L. Hilliard, III                                                     Case No.:
                                                                                      Chapter 13
                                            Debtor(s)
                                                                          Chapter 13 Plan

    Original

             Amended

Date: March 16, 2022
                                                                THE DEBTOR HAS FILED FOR RELIEF UNDER
                                                                 CHAPTER 13 OF THE BANKRUPTCY CODE
                                                                    YOUR RIGHTS WILL BE AFFECTED

You should have received from the court a separate Notice of the Hearing on Confirmation of Plan, which contains the date of the confirmation
hearing on the Plan proposed by the Debtor. This document is the actual Plan proposed by the Debtor to adjust debts. You should read these papers
carefully and discuss them with your attorney. ANYONE WHO WISHES TO OPPOSE ANY PROVISION OF THIS PLAN MUST FILE A
WRITTEN OBJECTION in accordance with Bankruptcy Rule 3015 and Local Rule 3015-4. This Plan may be confirmed and become binding,
unless a written objection is filed.

                                  IN ORDER TO RECEIVE A DISTRIBUTION UNDER THE PLAN, YOU
                                MUST FILE A PROOF OF CLAIM BY THE DEADLINE STATED IN THE
                                               NOTICE OF MEETING OF CREDITORS.
 Part 1: Bankruptcy Rule 3015.1(c) Disclosures


                                 Plan contains non-standard or additional provisions – see Part 9

                                 Plan limits the amount of secured claim(s) based on value of collateral – see Part 4

                                 Plan avoids a security interest or lien – see Part 4 and/or Part 9


 Part 2: Plan Payment, Length and Distribution – PARTS 2(c) & 2(e) MUST BE COMPLETED IN EVERY CASE
     § 2(a) Plan payments (For Initial and Amended Plans):
           Total Length of Plan: 60 months.

             Total Base Amount to be paid to the Chapter 13 Trustee (“Trustee”) $ 61,200.00
             Debtor shall pay the Trustee $ 1,020.00 per month for 60 months; and then
             Debtor shall pay the Trustee $       per month for the remaining       months.

                                                                                   OR

             Debtor shall have already paid the Trustee $                through month number         and then shall pay the Trustee $            per month for the
             remaining          months.

           Other changes in the scheduled plan payment are set forth in § 2(d)

    § 2(b) Debtor shall make plan payments to the Trustee from the following sources in addition to future wages (Describe source, amount and date
when funds are available, if known):

      § 2(c) Alternative treatment of secured claims:
              None. If “None” is checked, the rest of § 2(c) need not be completed.

                Sale of real property
             See § 7(c) below for detailed description

                Loan modification with respect to mortgage encumbering property:
             See § 4(f) below for detailed description


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      § 2(d) Other information that may be important relating to the payment and length of Plan: 60 months
      § 2(e) Estimated Distribution

              A.         Total Priority Claims (Part 3)

                         1. Unpaid attorney’s fees                                            $                             5,294.00

                         2. Unpaid attorney’s cost                                            $                                  0.00

                         3. Other priority claims (e.g., priority taxes)                      $                            12,000.00

              B.         Total distribution to cure defaults (§ 4(b))                         $                                  0.00

              C.         Total distribution on secured claims (§§ 4(c) &(d))                  $                               451.56

              D.         Total distribution on general unsecured claims (Part 5)              $                            37,334.44

                                                                     Subtotal                 $                            55,080.00

              E.         Estimated Trustee’s Commission                                       $                             6,120.00


              F.         Base Amount                                                          $                            61,200.00

      §2 (f) Allowance of Compensation Pursuant to L.B.R. 2016-3(a)(2)

             By checking this box, Debtor’s counsel certifies that the information contained in Counsel’s Disclosure of Compensation [Form
B2030] is accurate, qualifies counsel to receive compensation pursuant to L.B.R. 2016-3(a)(2), and requests this Court approve counsel’s
compensation in the total amount of $ 5,300.00 with the Trustee distributing to counsel the amount stated in §2(e)A.1. of the Plan.
Confirmation of the plan shall constitute allowance of the requested compensation.

 Part 3: Priority Claims

             § 3(a) Except as provided in § 3(b) below, all allowed priority claims will be paid in full unless the creditor agrees otherwise:

 Creditor                                                Claim Number           Type of Priority           Amount to be Paid by Trustee
 David M. Offen                                                                 Attorney Fee                                                  $ 5,294.00
 Internal Revenue Service                                                       11 U.S.C. 507(a)(8)                                          $ 12,000.00

             § 3(b) Domestic Support obligations assigned or owed to a governmental unit and paid less than full amount.

                          None. If “None” is checked, the rest of § 3(b) need not be completed or reproduced.



 Part 4: Secured Claims

             § 4(a) ) Secured Claims Receiving No Distribution from the Trustee:

                          None. If “None” is checked, the rest of § 4(a) need not be completed.
 Creditor                                                                        Claim       Secured Property
                                                                                 Number
     If checked, the creditor(s) listed below will receive no distribution
 from the trustee and the parties’ rights will be governed by agreement
 of the parties and applicable nonbankruptcy law.                                              FHA Real Estate Mortgage
 Pennsylvania Housing Finance Agency                                                64019

             § 4(b) Curing default and maintaining payments

                          None. If “None” is checked, the rest of § 4(b) need not be completed or reproduced.


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          § 4(c) Allowed Secured Claims to be paid in full: based on proof of claim or pre-confirmation determination of the amount, extent
or validity of the claim

                        None. If “None” is checked, the rest of § 4(c) need not be completed.
                       (1) Allowed secured claims listed below shall be paid in full and their liens retained until completion of payments under the plan.
                       (2) If necessary, a motion, objection and/or adversary proceeding, as appropriate, will be filed to determine the amount, extent or
              validity of the allowed secured claim and the court will make its determination prior to the confirmation hearing.
                       (3) Any amounts determined to be allowed unsecured claims will be treated either: (A) as a general unsecured claim under Part 5
              of the Plan or (B) as a priority claim under Part 3, as determined by the court.
                       (4) In addition to payment of the allowed secured claim, “present value” interest pursuant to 11 U.S.C. § 1325(a) (5) (B) (ii) will
              be paid at the rate and in the amount listed below. If the claimant included a different interest rate or amount for “present value” interest
              in its proof of claim or otherwise disputes the amount provided for “present value” interest, the claimant must file an objection to
              confirmation.
                       (5) Upon completion of the Plan, payments made under this section satisfy the allowed secured claim and release the
              corresponding lien.

 Name of Creditor             Claim Number                 Description of     Allowed Secured   Present Value      Dollar Amount of      Amount to be
                                                           Secured Property   Claim             Interest Rate      Present Value         Paid by Trustee
                                                                                                                   Interest
 City of           `                                                   $451.56                                                                         $451.56
 Philadelphia
           § 4(d) Allowed secured claims to be paid in full that are excluded from 11 U.S.C. § 506

                          None. If “None” is checked, the rest of § 4(d) need not be completed.

             § 4(e) Surrender

                          None. If “None” is checked, the rest of § 4(e) need not be completed.

             § 4(f) Loan Modification

                  None. If “None” is checked, the rest of § 4(f) need not be completed.

 Part 5:General Unsecured Claims
          § 5(a) Separately classified allowed unsecured non-priority claims

                          None. If “None” is checked, the rest of § 5(a) need not be completed.

             § 5(b) Timely filed unsecured non-priority claims
                      (1) Liquidation Test (check one box)
                                    All Debtor(s) property is claimed as exempt.

                                             Debtor(s) has non-exempt property valued at $ 49,196.34 for purposes of § 1325(a)(4) and plan provides for
                                             distribution of $ 49,334.44      to allowed priority and unsecured general creditors.

                           (2) Funding: § 5(b) claims to be paid as follows (check one box):

                                             Pro rata

                                100%
 Part 6: Executory Contracts & Unexpired Leases

                          None. If “None” is checked, the rest of § 6 need not be completed or reproduced.



 Part 7: Other Provisions
          § 7(a) General Principles Applicable to The Plan
          (1) Vesting of Property of the Estate (check one box)

                               Upon confirmation
                               Upon discharge

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           (2) Subject to Bankruptcy Rule 3012 and 11 U.S.C. §1322(a)(4), the amount of a creditor’s claim listed in its proof of claim controls over
any contrary amounts listed in Parts 3, 4 or 5 of the Plan.
           (3) Post-petition contractual payments under § 1322(b)(5) and adequate protection payments under § 1326(a)(1)(B), (C) shall be disbursed
to the creditors by the debtor directly. All other disbursements to creditors shall be made to the Trustee.
           (4) If Debtor is successful in obtaining a recovery in personal injury or other litigation in which Debtor is the plaintiff, before the
completion of plan payments, any such recovery in excess of any applicable exemption will be paid to the Trustee as a special Plan payment to the
extent necessary to pay priority and general unsecured creditors, or as agreed by the Debtor or the Trustee and approved by the court..

           § 7(b) Affirmative duties on holders of claims secured by a security interest in debtor’s principal residence
           (1) Apply the payments received from the Trustee on the pre-petition arrearage, if any, only to such arrearage.
           (2) Apply the post-petition monthly mortgage payments made by the Debtor to the post-petition mortgage obligations as provided for by
the terms of the underlying mortgage note.
           (3) Treat the pre-petition arrearage as contractually current upon confirmation for the Plan for the sole purpose of precluding the imposition
of late payment charges or other default-related fees and services based on the pre-petition default or default(s). Late charges may be assessed on
post-petition payments as provided by the terms of the mortgage and note.
           (4) If a secured creditor with a security interest in the Debtor’s property sent regular statements to the Debtor pre-petition, and the Debtor
provides for payments of that claim directly to the creditor in the Plan, the holder of the claims shall resume sending customary monthly statements.
           (5) If a secured creditor with a security interest in the Debtor’s property provided the Debtor with coupon books for payments prior to the
filing of the petition, upon request, the creditor shall forward post-petition coupon book(s) to the Debtor after this case has been filed.
           (6) Debtor waives any violation of stay claim arising from the sending of statements and coupon books as set forth above.

             § 7(c) Sale of Real Property

             None. If “None” is checked, the rest of § 7(c) need not be completed.
 Part 8: Order of Distribution

             The order of distribution of Plan payments will be as follows:

         Level 1: Trustee Commissions*
         Level 2: Domestic Support Obligations
         Level 3: Adequate Protection Payments
         Level 4: Debtor’s attorney’s fees
         Level 5: Priority claims, pro rata
         Level 6: Secured claims, pro rata
         Level 7: Specially classified unsecured claims
         Level 8: General unsecured claims
         Level 9: Untimely filed general unsecured non-priority claims to which debtor has not objected
*Percentage fees payable to the standing trustee will be paid at the rate fixed by the United States Trustee not to exceed ten (10) percent.

 Part 9: Nonstandard or Additional Plan Provisions

Under Bankruptcy Rule 3015.1(e), Plan provisions set forth below in Part 9 are effective only if the applicable box in Part 1 of this Plan is checked.
Nonstandard or additional plan provisions placed elsewhere in the Plan are void.

         None. If “None” is checked, the rest of Part 9 need not be completed.
 Part 10: Signatures

          By signing below, attorney for Debtor(s) or unrepresented Debtor(s) certifies that this Plan contains no nonstandard or additional
provisions other than those in Part 9 of the Plan, and that the Debtor(s) are aware of, and consent to the terms of this Plan.

 Date:       March 16, 2022                                                          /s/ David M. Offen
                                                                                     David M. Offen
                                                                                     Attorney for Debtor(s)

             If Debtor(s) are unrepresented, they must sign below.

 Date:       March 16, 2022                                                          /s/ Clarence L. Hilliard, III
                                                                                     Clarence L. Hilliard, III
                                                                                     Debtor

 Date:
                                                                                     Joint Debtor


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